            Case 18-19397-VFP                        Doc 1        Filed 05/08/18 Entered 05/08/18 13:46:25                       Desc Main
                                                                  Document     Page 1 of 26
B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                            District of New Jersey, Newark Division
 In re       Jones, Kimberly                                                                                  Case No.
                                                                              Debtor(s)                       Chapter     13

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 7,500.00
             Prior to the filing of this statement I have received                                        $                 7,500.00
             Balance Due                                                                                  $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay mtions,
               Certification of Defaults, motions on behalf of debtor, adversary proceedings, additional Court apperances,
               request for extensions of time on behalf of debtor, amendment to schedules, negotiate reaffirmation or
               redemption agreements, cramdowns, opposing objections to confirmation, appointing special counsel,
               representation of debtor in audit by US Trustee.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 8, 2018                                                             /s/ Daniel E. Straffi, Jr.
     Date                                                                    Daniel E. Straffi, Jr.
                                                                             Signature of Attorney
                                                                             Straffi & Straffi

                                                                             670 Commons Way
                                                                             Toms River, NJ 08755-6431
                                                                             (732) 341-3800 Fax: (732) 341-3548
                                                                             bkclient@straffilaw.com
                                                                             Name of law firm




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                                                                            Case
                                                                   B201B (Form 201B) 18-19397-VFP
                                                                                     (12/09)                Doc 1         Filed 05/08/18 Entered 05/08/18 13:46:25                       Desc Main
                                                                                                                          Document     Page 2 of 26
                                                                                                                    United States Bankruptcy Court
                                                                                                                District of New Jersey, Newark Division

                                                                   IN RE:                                                                                            Case No.
                                                                   Jones, Kimberly                                                                                   Chapter 13
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Jones, Kimberly                                                        X /s/ Kimberly Jones                                         5/08/2018
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
            Case 18-19397-VFP                        Doc 1        Filed 05/08/18 Entered 05/08/18 13:46:25                  Desc Main
                                                                  Document     Page 3 of 26
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1

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            Case 18-19397-VFP                        Doc 1        Filed 05/08/18 Entered 05/08/18 13:46:25                     Desc Main
                                                                  Document     Page 4 of 26


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2

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            Case 18-19397-VFP                        Doc 1        Filed 05/08/18 Entered 05/08/18 13:46:25                   Desc Main
                                                                  Document     Page 5 of 26
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3

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            Case 18-19397-VFP                        Doc 1        Filed 05/08/18 Entered 05/08/18 13:46:25                   Desc Main
                                                                  Document     Page 6 of 26
                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4

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               Case 18-19397-VFP                     Doc 1        Filed 05/08/18 Entered 05/08/18 13:46:25                                Desc Main
                                                                  Document     Page 7 of 26
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY, NEWARK DIVISION

Case number (if known)                                                         Chapter you are filing under:
                                                                                Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                               Chapter 13                                         Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Kimberly
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).           Middle name                                                     Middle name
     Bring your picture             Jones
     identification to your meeting
                                    Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     with the trustee.




2.   All other names you have
     used in the last 8 years        Kimberly D. Jones
                                     Lil' Kim
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-4432
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
              Case 18-19397-VFP                  Doc 1        Filed 05/08/18 Entered 05/08/18 13:46:25                                Desc Main
                                                              Document     Page 8 of 26
Debtor 1   Jones, Kimberly                                                                             Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 39 Timberline Dr
                                 Alpine, NJ 07620
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Bergen
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.

                                 1 Penn Plz
                                 Ste 440
                                 New York, NY 10119-0499
                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
              Case 18-19397-VFP                   Doc 1         Filed 05/08/18 Entered 05/08/18 13:46:25                                Desc Main
                                                                Document     Page 9 of 26
Debtor 1    Jones, Kimberly                                                                                Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12

                                   Chapter 13

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                   When                             Case number
                                             District                                   When                             Case number
                                             District                                   When                             Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known



11. Do you rent your
    residence?
                                  No.         Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
              Case 18-19397-VFP                     Doc 1          Filed 05/08/18 Entered 05/08/18 13:46:25                               Desc Main
                                                                  Document      Page 10 of 26
Debtor 1    Jones, Kimberly                                                                                   Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
               Case 18-19397-VFP                   Doc 1        Filed 05/08/18 Entered 05/08/18 13:46:25                                Desc Main
                                                               Document      Page 11 of 26
Debtor 1    Jones, Kimberly                                                                               Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
              Case 18-19397-VFP                    Doc 1       Filed 05/08/18 Entered 05/08/18 13:46:25                                    Desc Main
                                                              Document      Page 12 of 26
Debtor 1    Jones, Kimberly                                                                                  Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under
    Chapter 7?
                                   No.      I am not filing under Chapter 7. Go to line 18.


     Do you estimate that after     Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                  paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                  No
     are paid that funds will be
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                           $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                                                                           $1,000,000,001 - $10 billion
    be?                                                                              $10,000,001 - $50 million
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Kimberly Jones
                                   Kimberly Jones                                                     Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      May 8, 2018                                       Executed on
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
             Case 18-19397-VFP                    Doc 1          Filed 05/08/18 Entered 05/08/18 13:46:25                                Desc Main
                                                                Document      Page 13 of 26
Debtor 1   Jones, Kimberly                                                                                   Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Daniel E. Straffi, Jr.                                            Date         May 8, 2018
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Daniel E. Straffi, Jr.
                                Printed name

                                Straffi & Straffi
                                Firm name


                                670 Commons Way
                                Toms River, NJ 08755-6431
                                Number, Street, City, State & ZIP Code

                                Contact phone    (732) 341-3800                                 Email address         bkclient@straffilaw.com
                                5993
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
Case 18-19397-VFP   Doc 1    Filed 05/08/18 Entered 05/08/18 13:46:25   Desc Main
                            Document      Page 14 of 26
              Case 18-19397-VFP                       Doc 1         Filed 05/08/18 Entered 05/08/18 13:46:25                                             Desc Main
                                                                   Document      Page 15 of 26
 Fill in this information to identify your case:

 Debtor 1                   Kimberly Jones
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A                Column B                   Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As      Amount of claim         Value of collateral        Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                   Do not deduct the       that supports this         portion
                                                                                                               value of collateral.    claim                      If any
         Rushmore Loan
 2.1                                              Describe the property that secures the claim:               $2,038,566.87              $2,300,000.00                         $0.00
         Management
         Creditor's Name
                                                  39 Timberline Dr, Alpine, NJ 07620

         15480 Laguna Canyon                      As of the date you file, the claim is: Check all that
         Rd Ste 100                               apply.
         Irvine, CA 92618-2132                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        3063


 Add the dollar value of your entries in Column A on this page. Write that number here:                               $2,038,566.87
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                              $2,038,566.87

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.1
          Fein Such Kahn & Shepard, PC
          7 Century Dr Ste 201                                                                     Last 4 digits of account number    3063
          Parsippany, NJ 07054-4609




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                              page 1 of 1
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               Case 18-19397-VFP                       Doc 1         Filed 05/08/18 Entered 05/08/18 13:46:25                                           Desc Main
                                                                    Document      Page 16 of 26
 Fill in this information to identify your case:

 Debtor 1                   Kimberly Jones
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim         Priority              Nonpriority
                                                                                                                                            amount                amount
                                                                                                                           $1,469,105.                                 $1,233,113.
 2.1          Internal Revenue Service                             Last 4 digits of account number                                  01         $235,992.00                      01
              Priority Creditor's Name
              PO Box 7346                                          When was the debt incurred?
              Special Procedures Branch, Bky
              Sec.
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes                                                                           2004 - 2017 - Federal Income Tax




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 6
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             Case 18-19397-VFP                        Doc 1          Filed 05/08/18 Entered 05/08/18 13:46:25                                           Desc Main
                                                                    Document      Page 17 of 26
 Debtor 1 Jones, Kimberly                                                                                   Case number (if know)

                                                                                                                          $376,346.7
 2.2        State Of NJ- Division Of Taxation                     Last 4 digits of account number                                  4             $38,200.98           $338,145.76
            Priority Creditor's Name
                                                                  When was the debt incurred?
            PO Box 111 Revenue Processing
            Center
            Trenton, NJ 08645-0111
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                          2004 - 2017 - State Income Tax

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Candlewood North                                         Last 4 digits of account number         6524                                                       $1,456.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2011-10-06
            9830 Reseda Blvd
            Northridge, CA 91324-2060
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Open account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 6
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            Case 18-19397-VFP                        Doc 1         Filed 05/08/18 Entered 05/08/18 13:46:25                                         Desc Main
                                                                  Document      Page 18 of 26
 Debtor 1 Jones, Kimberly                                                                              Case number (if know)

 4.2      Cedars Car Service, LLC                                 Last 4 digits of account number       4011                                               $6,759.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          149 N Finley Ave
          Basking Ridge, NJ 07920-1631
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Judgment account opened 10/7/2011


 4.3      Dewey & LeBoeuf                                         Last 4 digits of account number                                                        $186,217.93
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1301 Avenue of the Americas
          New York, NY 10019-6022
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Professional Services


 4.4      Hackensack Medical Center                               Last 4 digits of account number       2017                                               $1,931.72
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          30 Prospect Ave
          Hackensack, NJ 07601-1915
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Judgment




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 6
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            Case 18-19397-VFP                        Doc 1         Filed 05/08/18 Entered 05/08/18 13:46:25                                         Desc Main
                                                                  Document      Page 19 of 26
 Debtor 1 Jones, Kimberly                                                                              Case number (if know)

          Hackensack University Medical
 4.5      Center                                                  Last 4 digits of account number       2016                                               $2,752.33
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          30 Prospect Ave
          Hackensack, NJ 07601-1915
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Judgment


 4.6      NJ Healthcare Specialists                               Last 4 digits of account number       0617                                                $386.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          30 Prospect Ave
          Hackensack, NJ 07601-1915
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Judgment account opened 7/12/2017


 4.7      North Jersey Orthopedics                                Last 4 digits of account number       2501                                                $320.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2015-07
          730 Palisade Ave
          Teaneck, NJ 07666-3144
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Open account




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 6
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            Case 18-19397-VFP                        Doc 1         Filed 05/08/18 Entered 05/08/18 13:46:25                                         Desc Main
                                                                  Document      Page 20 of 26
 Debtor 1 Jones, Kimberly                                                                              Case number (if know)

 4.8       State Of New Jersey Motor Vehicle                      Last 4 digits of account number                                                          $1,000.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           PO Box 4850 Violations Surcharge
           System
           Trenton, NJ 08724-2773
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify      DMV Surcharges/Judgment


 4.9       Wisdom Financial                                       Last 4 digits of account number       2730                                                     $0.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-06
           277 Northern Blvd Ste 10
           Great Neck, NY 11021-4705
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify      Installment account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Celentano, Stadtmauer &                                     Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Walentowicz, LLp                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 1035 Route 46 East, PO Box 2594
 Notchview Office Park
 Clifton, NJ 07015-2594
                                                             Last 4 digits of account number                2017
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Celentano, Stadtmauer, &                                    Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Walentowicz LLP                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2594
 Clifton, NJ 07015
                                                             Last 4 digits of account number                2016
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Fco                                                         Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 12304 Baltimore Ave                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Beltsville, MD 20705-1314
                                                             Last 4 digits of account number                6524

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 6
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            Case 18-19397-VFP                        Doc 1         Filed 05/08/18 Entered 05/08/18 13:46:25                                         Desc Main
                                                                  Document      Page 21 of 26
 Debtor 1 Jones, Kimberly                                                                                  Case number (if know)


 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Gem Recovery Systems                                        Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 1001 McBride Ave                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Little Falls, NJ 07424-2534
                                                             Last 4 digits of account number                      2501
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                    Line 2.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $              1,845,451.75
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $              1,845,451.75

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                200,822.98

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                200,822.98




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 6 of 6
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             Case 18-19397-VFP               Doc 1       Filed 05/08/18 Entered 05/08/18 13:46:25                             Desc Main
                                                        Document      Page 22 of 26


Fill in this information to identify your case:

Debtor 1                    Kimberly Jones
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      DISTRICT OF NEW JERSEY, NEWARK DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Kimberly Jones                                                X
             Kimberly Jones                                                    Signature of Debtor 2
             Signature of Debtor 1

             Date       May 8, 2018                                            Date
                                                                            Case 18-19397-VFP           Doc 1      Filed 05/08/18 Entered 05/08/18 13:46:25                   Desc Main
                                                                                                                  Document      Page 23 of 26
                                                                                                               United States Bankruptcy Court
                                                                                                            District of New Jersey, Newark Division

                                                                   IN RE:                                                                                  Case No.
                                                                   Jones, Kimberly                                                                         Chapter 13
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: May 8, 2018                      Signature: /s/ Kimberly Jones
                                                                                                                       Kimberly Jones                                                          Debtor



                                                                   Date:                                  Signature:
                                                                                                                                                                                   Joint Debtor, if any
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Case 18-19397-VFP   Doc 1    Filed 05/08/18 Entered 05/08/18 13:46:25   Desc Main
                            Document      Page 24 of 26




     Candlewood North
     9830 Reseda Blvd
     Northridge, CA 91324-2060


     Cedars Car Service, LLC
     149 N Finley Ave
     Basking Ridge, NJ 07920-1631


     Celentano, Stadtmauer & Walentowicz, LLp
     1035 Route 46 East, PO Box 2594
     Notchview Office Park
     Clifton, NJ 07015-2594


     Celentano, Stadtmauer, & Walentowicz LLP
     PO Box 2594
     Clifton, NJ 07015-0000


     Dewey & LeBoeuf
     1301 Avenue of the Americas
     New York, NY 10019-6022


     Fco
     12304 Baltimore Ave
     Beltsville, MD 20705-1314


     Fein Such Kahn & Shepard, PC
     7 Century Dr Ste 201
     Parsippany, NJ 07054-4609
Case 18-19397-VFP   Doc 1    Filed 05/08/18 Entered 05/08/18 13:46:25   Desc Main
                            Document      Page 25 of 26




     Gem Recovery Systems
     1001 McBride Ave
     Little Falls, NJ 07424-2534


     Hackensack Medical Center
     30 Prospect Ave
     Hackensack, NJ 07601-1915


     Hackensack University Medical Center
     30 Prospect Ave
     Hackensack, NJ 07601-1915


     Internal Revenue Service
     PO Box 7346
     Special Procedures Branch, Bky Sec.
     Philadelphia, PA 19101-7346


     NJ Healthcare Specialists
     30 Prospect Ave
     Hackensack, NJ 07601-1915


     North Jersey Orthopedics
     730 Palisade Ave
     Teaneck, NJ 07666-3144


     Rushmore Loan Management
     15480 Laguna Canyon Rd Ste 100
     Irvine, CA 92618-2132
Case 18-19397-VFP   Doc 1    Filed 05/08/18 Entered 05/08/18 13:46:25   Desc Main
                            Document      Page 26 of 26




     State Of New Jersey Motor Vehicle
     PO Box 4850 Violations Surcharge System
     Trenton, NJ 08724-2773


     State Of NJ- Division Of Taxation
     PO Box 111 Revenue Processing Center
     Trenton, NJ 08645-0111


     Wisdom Financial
     277 Northern Blvd Ste 10
     Great Neck, NY 11021-4705
